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                    Joint Exhibit C
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig                    MDL NO. 2179
       “Deepwater Horizon” in the
       Gulf of Mexico, on April 20, 2010           SECTION: J

This document relates to all actions.              HONORABLE CARL J. BARBIER
                                                   MAGISTRATE JUDGE SHUSHAN


Bon Secour Fisheries, Inc., et al.,
individually and on behalf of themselves           Civil Action No. 12-970
and all others similarly situated,
                                                   SECTION: J
  Plaintiffs,
                                                   HONORABLE CARL J. BARBIER
v.
                                                   MAGISTRATE JUDGE SHUSHAN
BP Exploration & Production Inc; BP
America Production Company; BP p.l.c.,

  Defendants



                     DECLARATION OF JOHN C. COFFEE, JR.

       JOHN C. COFFEE, JR. declares as follows:


                           I.     INTRODUCTION

       1.       This declaration focuses on one central question: Can the proposed class

specified in the “Deepwater Horizon Economic and Property Damages Settlement

Agreement,” dated April 18, 2012, as amended May 2, 2012 (the “Settlement



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Agreement”), be certified as a settlement class against the BP Parties (collectively, BP

Exploration & Production Inc. and BP America Production Company)?

        2.      My background, experience and qualifications relevant to the opinions

expressed in this declaration are set forth in Exhibit A hereto. However, I should note at

the outset that I have long been a skeptic of sprawling mass tort class actions1 (and have

been so cited by the Supreme Court2). Although I remain skeptical of overbroad class

actions, this case has no similarities with the open-ended, sprawling class actions that I

have criticized. Thus, I begin by focusing on the special factual characteristics of this

class action, deferring until later my discussion of the legal precedents and the specific

requirements of Fed. R. Civ. Pro. 23. Even though the total recovery in this case is a

probable record, the most distinctive fact about this class action is not its size, but its

simplicity. Large as it may be, the class is also compact and cohesive; the claims are

simple; the chain of causation is short for the members of the settlement class, and

sufficient structural protections have been adopted to assure adequate representation. At

the outset, let me therefore stress the following critical factual points that distinguish this

case from most large class actions:

A.      First, this case is based on, and united by, a single, interconnected body of law —

the Oil Pollution Act and general maritime law.

        3.      The Oil Pollution Act, 33 U.S.C. § 2701 et seq. (“OPA”) is at the core of

this case. It integrates with general maritime law in a manner that enables this action to


1
  See e.g., John C. Coffee, Jr., Class Wars: The Dilemma of the Mass Tort Class Action, 95
Colum. L. Rev. 1343 (1995); John C. Coffee, Jr., Class Action Accountability: Reconciling Exit,
Voice and Loyalty in Representative Litigation, 100 Colum. L. Rev. 370 (2000).
2
  See, e.g., Amchem Products, Inc. v. Windsor, 521 U.S. 591, 621 (1997), and Ortiz v. Fibreboard
Corp., 527 U.S. 815, 850 n. 28.

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sidestep all of the complexity and problems that have arisen in many proposed multi-state

class actions when the claims arise under multiple bodies of law (usually those of

different states). As this Court well knows, OPA both (a) imposes strict liability on

“Responsible Parties” for economic losses resulting from oil spills into navigable waters

and shorelines,3 thus eliminating any need to show fault or culpability on the part of the

BP Parties to establish the OPA claims, and (b) expands the kinds of economic losses that

are recoverable. The case is further simplified by this Court’s ruling on the application of

the Outer Continental Shelf Lands Act (“OCSLA”), 43 U.S.C. § 1301, which recognizes

the Outer Continental Shelf as an area of “exclusive Federal jurisdiction.”4 That special

legal status undergirds this Court’s decision to apply general maritime law in a uniform

fashion. Given this Court’s ruling that federal maritime law supersedes and preempts

state law claims, both statutory and common law, the interplay of OPA and general

maritime law produces an effectively uniform body of law applicable to this class action.5

       4.      Also simplifying this case is the fact that the class definition carefully

excludes remote claimants — for example, by requiring that, to be within the class,

natural persons must have resided or worked or owned or leased property within the area

directly affected by the Deepwater Horizon incident. This deliberately narrow definition

of the class (both in terms of geographic location and the economic losses covered)

ensures that this class action will remain compact and that class members will be




3
  See Rice v. Harken Exploration Co., 250 F. 3d 264, 266 (5th Cir. 2001).
4
  See 43 U.S.C. §§ 1332(2), 1333(a)(1)(a).
5
  See Order and Reasons As to Motions to Dismiss the B1 Master Complaint, August 26, 2011
(Doc. 3830).

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similarly situated (and hence more cohesive).6 This narrow class definition also

simplifies proof of causation, because persons situated within tightly defined geographic

areas can make use of common evidence to support a showing of economic loss. From

all these perspectives, the bottom line is that the claims covered by this class action are

either expressly authorized by OPA or are clear-cut and narrowly bounded.

        B. Second, this case grows out of a single-event, single-location disaster that has

principally impacted a limited geographic area.

        5.      As a result, not only is the class compact, but the chain of causation is kept

short. Causation of the injuries covered by the Settlement Agreement inevitably leads

back to the Macondo well blowout, the Deepwater Horizon explosion and the resulting

oil spill. Although it might be possible to argue that persons at considerable distance

from the explosion and oil spill were economically injured through layoffs or reduced

business activity, the class definition stops well short of attempting to incorporate such

claims. As a result, the class is more compact and cohesive than if it attempted to assert

all possible claims.

        C. Third, causation issues are less problematic in this case where the root cause is

undisputed and the chain of causation is short.

        6.      In many tort-based class actions, proximate causation is the principal

barrier to class certification. These cases — e.g., tobacco, asbestos, and toxic emissions

6
  Indeed, to the extent that this class action pleads claims not based on OPA, they are governed by
general maritime law (as this Court has held), which employs a narrow, bright line standard that
excludes precisely those claims that might be the most difficult to prove or that might depend on
more individualized issues of fact and law. See Robins Dry Dock & Repair Co. v. Flint, 275 U.S.
303 (1927) I understand that an exception to this rule has been recognized by this and other courts
in the case of commercial fisherman, and that exception further reinforces this settlement. To the
extent that OPA applies, it has liberalized and relaxed this doctrine, thereby enhancing the legal
strength of the claims settled in this action.

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— involve persons who have been exposed to a toxic substance and may or may not have

been aware of, or injured by, this exposure. For example, those exposed to asbestos

might have also smoked or had some other injury-inducing experience or genetic

characteristic that more directly caused the injury. This is not such a case. If an

explosion causes an oil spill and the spill reaches a beach with the result that a beach

resort sustains economic injury, the laid-off workers can more easily and logically show

that they had been injured by a short chain of causation, and individual evidence on an

employee-by-employee basis is not required in such instances. Indeed, the Settlement

Agreement reflects this clear connection by creating presumptive injury zones in which,

negotiating at arm’s length, plaintiffs and defendants recognized that, within these areas,

causation of the economic injury could be objectively resolved.

        D. Fourth, both the Supreme Court and the Fifth Circuit look principally to the

degree of cohesion within the class in determining whether it is appropriate for class

certification,7 and the level of cohesion within this class is uniquely high.

        7.      In order to receive compensation, each class member must have (i)

suffered economic loss as the direct result of a single incident (the April 20, 2010

explosion of the Deepwater Horizon), (ii) resided or worked within tightly defined

7
  In Amchem Products, Inc. v. Windsor, 521 U.S. 591 (1997), the Court made clear that the key
issue under Fed. Rule Civ. Proc. 23, which applies to both litigation classes and settlement
classes, is “whether a proposed class has sufficient unity so that absent members can fairly be
bound by decisions of class representatives.” Id. at 621. Two pages later in this decision, the
Court returned to this same point, stressing that the focus of the predominance requirement in
Rule 23 (b)(3) is “whether proposed classes are sufficiently cohesive to warrant adjudication by
representation.” Id at 623. The Fifth Circuit has similarly stressed that cohesion is lacking when
“class members . . . suffered a wide variety of injuries, ranging from property damage to personal
injury and death, and no method is specified for how these different claimants will be treated vis-
à-vis each other.” In re Katrina Canal Breaches Litigation, 628 F. 3d 185, 193-94 (5th Cir. 2010).
As will be seen this case is entirely different, both in its narrow class definition and its more
specific plan of allocation.

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geographic areas, and (iii) experienced economic loss or property damage within a

relatively brief duration. Further enhancing their cohesion is the obvious fact that all

were unquestionably conscious of the events triggering this litigation and the impact of

that incident on them. Next, the interests of each of the various constituencies of

claimants — e.g., Vessels of Opportunity (or “VoO”) claimants, the tourism industry,

fisherman, etc. —were represented from early in the negotiating process that yielded this

settlement by representatives and counsel closely aligned with their interests and who had

represented them in the past. Regular consultations between counsel and constituency

representatives were held to test ideas, evaluate settlement proposals and counter-

proposals, and gather data; this interactive process continued through the extended

negotiations. The result was a process that was far more democratic and decentralized

than in most other large class action settlements. That greater democratic participation in

turn produced greater cohesion and unity.

        E. Fifth, the structural assurances of adequate representation and fair treatment in

this case start with the fact that the liability of the BP Parties is uncapped under the

Settlement Agreement.8

        8.      Most class action settlements reach a bargain on the aggregate payment

that the defendants will make and then defendants will step back and plaintiffs’ counsel

proposes a plan of allocation that distributes this amount among the contending

constituencies of class members. The result is often to give rise to intense intra-class

rivalries, and internal conflicts, as various subclasses compete for the same limited funds.

8
 This uncapped liability is not a new development, but has been implicit since the BP Parties
waived the statutory limitations on liability under OPA. See Statement of BP Exploration &
Production Inc. Re Applicability of Limit of Liability Under Oil Pollution Act of 1990, dated
October 18, 2010 (Doc. 559) (waiving statutory limitation on liability under OPA).

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Such rivalry is entirely absent here. Because the liability of the BP Parties is uncapped, a

payment to one claimant in no way depletes the funds available for others. In short, there

is no zero-sum game. To be sure, one modest qualification is necessary here: the Seafood

Compensation Program is capped, but in its case the allocation of funds has been made

by a court-appointed neutral party (Mr. John W. Perry, Jr.), and this objective allocation

did not invite competition or jockeying for position within the class. Thus, unlike in

other proposed class actions (for example, In re Katrina Canal Breaches Litigation,

supra), the major issues of allocation have all been resolved in an impartial manner prior

to settlement approval.

        F. Sixth, this case does not present the special, complicating factors that have

caused the Supreme Court to reject settlement classes.

        9.      In Amchem Products, Inc. v. Windsor, 521 U.S. 591 (1997) and Ortiz v.

Fibreboard Corp., 527 U.S. 815 (1999), the Court rejected settlement classes on grounds

that are entirely inapplicable to this settlement. Simply put, there are no “future

claimants” in this class, thus distinguishing Amchem Products. The difficult problems

posed by future claimants – i.e., persons who have been exposed to a toxic substance but

have not yet manifested any injury – are simply absent in this case because, in order to

recover, every person in this class, by the very definition of the class, must have already

experienced economic loss or property damage. Hence, the problems of notifying future

claimants and protecting them from the danger that the settlement fund may be exhausted

before they experience any injury are wholly inapplicable. Similarly, this is not a

“limited fund” case (as Ortiz was); rather, the BP Parties will remain liable without any

aggregate limitation on their liability.



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       G. Seventh, in contrast to many class actions, which are lawyer-driven with

counsel simply imposing a settlement matrix or grid on largely passive class members,

this case was organized, and compensation negotiated, from the bottom up.

       10.     As later discussed in more detail, the various subgroups of class members

actively participated in settlement negotiations, thereby strengthening the cohesion within

the class. Attorneys representing various claimant groups were also members of the

Plaintiffs’ Steering Committee (“P.S.C.”), and thus were aware from the outset of their

constituencies’ specific needs and concerns. Far more than in the typical class action, the

class members included persons who were well informed, held significant claims, and did

not in any way resemble the often passive small claimants in many other varieties of class

actions. Their higher level of involvement and awareness translates into greater unity and

cohesion.

       H. Finally, from its outset, this was a settlement class action in which the

principal focus was on the creation of an improved, more transparent and objective

compensation program to replace the Gulf Coast Claims Facility (“GCCF”).

       11.     Normally, litigation is focused on establishing or rebutting the defendant’s

liability. In such cases, the need for judicial scrutiny of the settlement is based on a fear

that absent class members might be abused if their right to sue individually was

extinguished but the settlement was inadequate. That concern is, however, much less

relevant to this case where the liability of the BP Parties is uncapped and they have long

accepted their responsibility to pay compensation to victims of the Deepwater Horizon

incident. Indeed, from shortly after the April 20, 2010 spill, the BP Parties have

acknowledged their responsibility for losses resulting from the spill. On August 6, 2010,



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 certain BP entities entered into a $20 billion trust agreement that funded the Deepwater

 Horizon Oil Spill Trust (the “Trust”),9 which was administered by the GCCF. Given the

 Trust, the enormous payments already made by the GCCF, and the BP Defendants’

 waiver of the statutory limitation of liability under OPA, the negotiation process that

 resulted in the Settlement Agreement was very different from the typical adversarial

 battle over liability in most litigation. Because liability was uncapped, this enabled the

 parties to focus primarily on structuring a transition from an existing compensation

 system to a new and much enhanced one. Specifically, that transition was from the

 GCCF to the Deepwater Horizon Court Supervised Settlement Program (the “Settlement

 Program”). To be sure, these negotiations were still tough and hard fought, but they

 focused less on the amount of liability and more on what evidence would be necessary to

 support a particular claim. Both sides wanted a transition that would improve, enhance,

 and perfect the GCCF’s procedures, ensuring both broader coverage and more objective

 and transparent criteria.

        12.     Such a settlement process does not raise (at least to the same degree) the

 dangers of collusion and inadequacy that Rule 23 seeks to guard against, and thus courts

 can properly approach such an uncapped settlement differently, recognizing that it

 presents a more benign context. Equally important, Rule 23(b) focuses on “superiority,”

 and, on this score in particular, this settlement merits superlatives, because it is vastly

 superior to both individual litigation or a continuation of the GCCF process.




 9
  See Annual Report and Form 20-F of BP p.l.c. for the fiscal year ended December 31, 2011 at p.
 168. The BP Parties have also waived the statutory limitation on liability under OPA. See supra
 note 8.

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         13.       In addition, this settlement represents exactly the type of outcome that

 OPA was intended to produce. As others have said, OPA “was meant to provide an

 effective system for prompt oil spill removal and fair compensation for those damaged by

 such spills.”10 That is also the goal of the Settlement Agreement. Because the Settlement

 Agreement is uncapped and therefore does not reduce the potential liability of the BP

 Parties, it stands apart from the vast majority of class action settlements. Essentially, the

 negotiation process produced a more precise, transparent, and less discretionary system

 than existed under the GCCF. The uncapped nature of this settlement should simplify the

 judicial determination as to its adequacy and shift the focus to the new claims resolution

 system that the parties have designed, from the ground up, to match compensation to the

 needs and injuries of the class members. The key goals of OPA — i.e., prompt resolution

 and fair compensation — are consistent with the superiority standard of Rule 23(b)(3)

 and both favor an expeditious resolution that fosters the economic and social recovery of

 the Gulf Coast region. In contrast, if claimants had to proceed individually, and not by

 means of this class action, the process would be long and possibly interminable, and the

 courts would be flooded with repetitive litigation to no one’s advantage — all in conflict

 both with OPA’s goals and Rule 23 (b)’s focus on superiority. In this light, the

 “superiority” of this settlement over any alternative feasible procedure is its most striking

 characteristic.

         14.       Put most simply, this has been a negotiation that began from a starting

 point of assumed responsibility on the part of the BP Parties. That unique fact

 distinguishes this case and merits judicial recognition. Although Rule 23 should be a

 10
  See Steven R. Swanson, OPA 90 + 10 = The Oil Pollution Act of 1990 After Ten Years, 32 J.
 Maritime Law & Commerce 135, 174 (2001).

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 shield against inadequate settlements, courts may properly recognize that less risk

 surrounds a settlement in which the defendant has accepted both uncapped liability and

 full compensatory responsibility to the class (without any contribution from the other

 major defendants). In addition, this is a case in which the procedural form (i.e., a class

 action) fits the statutory purpose of OPA like the proverbial glove because OPA intends

 an early resolution of claims.

        15.       For all the foregoing reasons, this is a class action case that will rarely, if

 ever again, be seen in the federal courts: enormous in its financial size, the negotiating

 process focused primarily on the structure of the settlement and possible additional non-

 monetary benefits to the class, not issues of aggregate liability. Not only is the class

 definition tightly defined in scope, but the structure of the settlement is organized around

 common issues, because more speculative and legally debatable claims have been

 excluded from the class definition.

        16.       The balance of this declaration will be organized around the following

 roadmap: Part II will examine the Settlement Agreement in more detail and the process

 by which it was reached; Part III will then review the requirements of Fed. R. Civ. Proc.

 23. My background and experience in the field of class action certification are described

 in Appendix A.



 II. THE STRUCTURE OF THE SETTLEMENT ASSURES BOTH ADEQUACY OF
     REPRESENTATION AND FAIR COMPENSATION

        A. The Class is Objectively Defined and Fully Ascertainable. Moreover, It Does

 Not Attempt to Reach All Possible Claims, But Conservatively Focuses on Those Most

 Easily Proven.

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            17.     In many class actions, the class definition is broad, expansive and virtually

 unlimited in its attempt to shoehorn into the class every possible claim. Here, the class

 definition is much more limited. Section 1 of the Settlement Agreement sets forth the

 class definition in terms that are objective, precise, and closely track the language and

 concerns of OPA. Essentially, individuals are covered (with some exceptions) if they

 “lived in, worked in, were offered and accepted work in, owned or leased real or personal

 property located within, or owned or leased or worked on a vessel harbored or home

 ported” in the Gulf Coast Areas or Specified Gulf Waters at any time between April 20,

 2010 and April 16, 2012. Similarly, entities are covered in equally precise terms if they

 (i) owned, operated or leased a physical facility or vessel or conducted a service business

 in the Gulf Coast Areas or Specified Gulf Waters during the same above time interval,

 and (ii) satisfied certain other limiting criteria with respect to the nature of their business

 operations or their ownership or leasing of real property in the Gulf Coast Areas.11

            18.     Individuals and entities who meet the geographical criteria described

 above still only fall within the class definition if their claims fall within one of six

 carefully defined damage categories, each of which arises out of, or relates to, the

 Deepwater Horizon incident. These damage categories are: (1) Economic Loss (2)

 Property Damage, (3) Vessels of Opportunity (“VoO”) Charter Payment, (4) Vessel

 Physical Damage, (5) Subsistence Damage, and (6) Seafood Compensation Program.

 These categories are not arbitrary, but were refined with the assistance of a variety of

 experts (including economists, accountants and real estate professionals).




 11
      These criteria are set forth in Sections 1.2.1 to 1.2.4 of the Settlement Agreement

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         19.     Further limiting the class, certain persons and entities are specifically

 excluded from the class under Section 2 of the Settlement Agreement (for example,

 financial institutions, insurance companies, and gaming entities). This is a conservative

 class definition which stops well short of reaching every person or entity who might

 arguably bring an OPA or general maritime law claim based on the Deepwater Horizon

 disaster. The net result of this caution is a list of easily identifiable categories of

 individuals and entities who are permitted to show objective losses from that disaster.

 This combination of a geographic test plus a careful definition of what losses or injuries

 give rise to cognizable claims for benefits under the Settlement Agreement easily satisfies

 the Fifth Circuit’s standard for ascertainability. See Union Asset Management AG v.

 Dell, 669 F.3d 632, 639-40 (5th Cir. 2012); DeBremaecker v. Short, 433 F.2d 733, 734

 (5th Cir. 1970) (per curiam).

         20.     This objective definition of the class contrasts sharply with the much

 looser definition employed in a case such as In re Katrina Canal Breaches Litigation, 628

 F.3d 185 (5th Cir 2010). There, a broad, sprawling class consisted of persons injured —

 both physically and economically — by Hurricanes Katrina and Rita. The class

 definition in that case did not seek, as here, to group the class members within tightly

 defined subcategories of similarly situated persons, and causation issues were either

 ignored or left to the discretion of a special master. Worse yet, there was no plan of

 allocation. Thus, class members could not have any idea of what they might receive, if

 anything. Even apart from its character as a “limited fund,” the Katrina class was a

 dysfunctional paradigm of precisely the kind of class action that, in Amchem’s phrase,




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 lacked “sufficient unity so that the absent members can fairly be bound by decisions of

 class representatives.” See Amchem Products, 521 U.S. at 621.

        21.     In marked contrast, this class action does not hand the allocation of the

 settlement fund to some omniscient special master for the latter to make deferred

 decisions allegedly in the best interests of class members. Rather, the settlement has been

 bargained out in advance of its submission for judicial approval. Class members will

 know what benefits they are eligible for, how they must apply, and how they must

 document their losses. On this basis, they can accept the settlement, object to it at the

 court’s hearing, or opt out. The choice is theirs, and it is an informed choice.

        22.     The clarity of this choice presented to class members also answers

 Amchem’s key question: Is there sufficient unity or cohesion within the class “so that

 absent class members can fairly be bound by decisions of class representatives”? 521

 U.S. at 621. Here, where the negotiations have given class members a payoff that is clear

 and defined, it is easy to find that the vicarious representation of these class members by

 their class representatives and counsel was fair and adequate. In contrast, in Katrina

 Canal Breaches, supra, where class members were faced effectively with an opaque

 settlement — in effect, they were asked to buy the proverbial pig in a poke — , the

 representation was inadequate because both the process and the outcome were undefined.

        B. Adequacy of Representation is Easily Satisfied in This Case Because the

 Principal Subgroupings of Class Members — e.g., VoO claimants, Subsistence claimants,

 Property Damage claimants, and Economic Damage claimants, etc. — Participated

 Actively in the Settlement Process Through the Mechanism of the P.S.C., and Benefitted

 From Elaborate Technical and Expert Assistance.



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           23.   Because the liability of the BP Parties under the Settlement Agreement is

 not capped, the interests of these subgroups are not in conflict. Ultimately, it is the

 existence of conflicts of interest within the class (and the resulting necessity of tradeoffs

 in settlement negotiations) that creates the need for subclasses. The only group of

 claimants whose total recovery is capped in this case are those seeking recovery against

 the Seafood Compensation Program, and in their case, any realistic possibility of conflict

 among claimants for a fixed fund has been eliminated by the use of a special master (Mr.

 Perry).

           24.   Although an uncapped settlement eliminates most of the potential for

 collusion (because it eliminates the prospect that some stronger groups may conspire to

 overreach a weaker group, assigning it an unfairly smaller share of a fixed fund), that is

 not the only protection in this Settlement Agreement. Other aspects of the settlement

 negotiations also should demonstrate to this Court that this was entirely an arm’s length

 negotiation. First, the structure of the P.S.C. is inconsistent with collusion with the

 defendants. In comparison to most class action plaintiff steering committees, it is

 uncharacteristically large, consisting of two lead co-counsel and a seventeen member

 committee. Moreover, the P.S.C.’s members are geographically diverse. While several

 are located in Louisiana and Alabama, others are based in California, New York, Texas

 and Florida. It is my understanding that most of them had not regularly interacted in their

 law practices prior to the Deepwater Horizon disaster. The larger the group that must

 collude, the harder that collusion becomes. Similarly, long-time associates can collude

 more easily than strangers.




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        25.     Next, many of the P.S.C.’s members had clients within the specific

 subgroups specified in the Settlement Agreement. For example, some had represented

 VoO claimants; others, clients in the tourist industry, and still others represented

 claimants under the Seafood Compensation Program. Given this background, it would be

 predictable that if a settlement agreement disfavored their special clients, those counsel

 associated with the disfavored group would have protested and probably resigned. But

 that has not happened. The P.S.C. is unanimous in the support of the Settlement

 Agreement. Given the diverse composition of the P.S.C., that is inconsistent with a

 collusive outcome.

        26.     The settlement negotiations in this case have been extended and intense —

 and unusually so. They appear to have begun in early 2011, then picked up speed in the

 Spring of 2011, and shifted into constant face-to-face negotiations around July, 2011. All

 told, they consumed nearly 15 months. Frankly, a collusive settlement can be

 accomplished much more quickly than that.

        27.     More importantly, the negotiations followed the same protocol for

 different types of claims. Rather than negotiating a total figure for the settlement and

 then allocating among contending groups, the parties instead developed claim

 frameworks for each type of claim on an independent basis, never trading off claims

 against each other, but instead assessing the strength of each claim category, the factors

 relevant to it, and the types of proof that would be required to establish it. As each type

 of claim was analyzed, the members of the P.S.C. most familiar with it would participate

 actively in the negotiations (which, after early 2012, were supervised by Magistrate Judge

 Shushan). Thus, for example, I am advised that attorneys representing seafood



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 restaurants helped to develop the business economic loss framework, while attorneys

 representing wetland owners worked on the property damage framework.

           28.   This process exemplified the “bottom up” negotiation protocol used by the

 parties, precisely to avoid determining a fixed amount and then allocating it. When

 needed, experts — accountants, economists, real property consultants, etc. — were

 brought in to advise the negotiators. In this sense, the class members received a vicarious

 representation by attorneys closely aligned with the interests of the various constituent

 groups.

           29.   Conceivably, someone might still object that each of these subgroups

 should have been treated as a formal subclass. Practical experience makes clear,

 however, that extensive use of subclasses introduces an undesirable complexity and

 rigidity and can result in the “Balkanization” of the class action, seriously slowing and

 impeding the negotiation process. Here, if each of the above subgroups were to have

 been treated as a separate subclass, that would have implied at least six subclasses (and

 possibly more), each with their own counsel. Under such a structure, progress would

 have likely slowed to a snail’s pace — and for no good reason. Indeed, if all the diverse

 interests covered by the Seafood Compensation Plan are considered to be distinct and

 potentially antagonistic groups, the number of separate counsel required to negotiate the

 settlement might rise to a dozen or more. In all likelihood, settlement negotiations would

 collapse under the weight of such a superstructure.

           30.   But such a rigid approach is both unnecessary and inappropriate here.

 Subclasses inherently force the counsel for each subclass into an adversarial relationship

 with each other, negotiating for a bigger piece of the normally limited pie. Not only is



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 the size of the pie unlimited in this case (thus reducing the need for subclasses), but if

 subclasses were used, class members would likely fall into multiple, overlapping

 subclasses. That is, the typical VoO claimant may be a small boat owner who is also a

 commercial fisherman (and thus belongs to a second subclass) and possibly a wetlands

 resident (thus belonging to a third subclass). Given this high overlap, the use of formal

 subclasses would inherently impose an inappropriately adversarial relationship on

 counsel representing the same flesh-and-blood human beings. No class member needs

 two or more counsel negotiating with each other to represent his common interest.

        31.     Recent cases have made clear that there is no absolute requirement for

 subclasses under Fed. R. Civ. P. 23. Just last month, the Eleventh Circuit wrote in Juris

 v. Inamed Corporation, 2012 U.S. App. LEXIS 13841 (11th Cir. July 6, 2012) that:

                “We are not the first court to suggest that Amchem and Ortiz

                impose a requirement of adequate structural assurances, as

                opposed to a per se requirement of formally designated sub-

                classes. . . . Commentators have also suggested (or at least implied)

                that the certification of subclasses is just one example of structural

                protection capable of ensuring adequate representation in the face

                of intra-class conflicts. [citing authorities].”

 Id. at * 77 n. 25. On the facts of Inamed (which was a mandatory limited fund class

 action that the Eleventh Circuit expressly recognized needed closer judicial scrutiny), the

 Eleventh Circuit found that:




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                “[t]he structure of the negotiations in the case at bar ensured that

                that the class representatives operated with a proper understanding

                of their representative responsibilities.”

 Id at * 78. But that is even truer here where the multiple class representatives were

 chosen to represent each of the different constituencies and where counsel had previously

 represented these same constituencies.

        32.     In contrast, when courts have recently required subclasses, it has usually

 been because the interest of one discrete and disfavored group appeared to have been

 subordinated to that of more dominant groups. See e.g., In re Literary Works in Elec.

 Databases Copyright Litig., 654 F.3d 242 (2d Cir. 2011) (where “fundamental conflict”

 existed between one of the three groups and the other two, subclasses were required).

 Central to the holdings in these cases that have required subclasses was the fact that “a

 capped settlement fund was allocated differently among categories of claims of different

 strength without separate counsel to protect each category’s interests.” Id. at 256. See

 also Central States Southeast & Southwest Areas Health & Welfare Fund v. Merck-

 Medco Managed Care, L.L.C., 504 F.3d 229, 246 (2d Cir. 2007). Obviously, this

 settlement (holding aside the Seafood Compensation Fund) is not capped. Nor is there

 any allocation being made among these groups by class counsel; instead, a disinterested,

 neutral expert has been used.

        33.     Moreover, a much superior technique for avoiding even the appearance of

 collusion was employed in this case. Magistrate Judge Shushan personally monitored the

 settlement negotiations over many months. Alone, this factor would weigh very heavily

 against finding collusion in a settlement. See Collins v. Sanderson Farms, Inc., 568 F.



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 Supp. 2d 714, 725 (E.D. La. 2008) (citing NEWBERG ON CLASS ACTIONS §11.51

 (4th ed. 2010) to the effect that participation of a Magistrate Judge reduces the possibility

 of collusion and should be given significant weight). But even more was done here. The

 participation of a Magistrate Judge was further backstopped by the use of a neutral, court-

 appointed expert (i.e., Mr. Perry). Finally, class counsel and defense counsel did not

 discuss the issue of attorneys’ fees until all issues relating to the settlement itself were

 first resolved and they were invited to commence fee negotiations by Magistrate

 Shushan. Class counsel’s fees will also not be subtracted from the settlement or borne by

 class members. Given all these safeguards, the possibility of collusion declines to

 virtually zero.

         C. Structural Protections Have Also Been Incorporated to Assure Fair and

 Adequate Representation.

         34.       Beyond the earlier noted facts that the settlement is basically uncapped

 and negotiations were conducted under the supervision of a Magistrate Judge, there are

 also an abundance of procedural safeguards surrounding this settlement that collectively

 assure that class members will be treated fairly. First, the Deepwater Horizon Court

 Supervised Settlement Program that will replace the GCCF will be “subject to the

 ongoing supervision of the court.” See Settlement Agreement, Section 4.4.7. Next, this

 program will have objective and transparent rules for claims, covering both the claims

 allowed and the documentation required. Submitted claims will be evaluated and

 processed by independent claims administrators. See Settlement Agreement, Section

 4.3.8. Finally, claimants will have the right to appeal denials of claims for insufficient

 documentation and to challenge any final determination made in this case. In contrast,



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 BP can challenge only awards over $25,000 in base compensation. Appeals will be

 decided by an appellate panel using a procedure designed to emulate the rules

 successfully used in baseball arbitration,12 and will be subject to a discretionary review

 by the Court. Further, all appellate panelists will be selected by this Court from a list

 submitted by the parties. In cases involving claims above $1,000,000 in base

 compensation, at least one appellate panelist must be from the claimant’s home state.

 Class members will also retain the right to seek punitive damages from Transocean and

 Halliburton and will receive an assignment of substantially all of the BP Parties’ rights to

 damages or recoveries from these defendants, including any right to punitive damages.

 III. THIS CLASS ACTION EASILY SATISFIES THE REQUIREMENTS OF FED. R.
      CIV. P. 23

         A. Rule 23(a) Poses No Serious Obstacle to Class Certification.

         35.     Rule 23(a) lists four basic requirements that must be satisfied before a

 class may be certified: numerosity, commonality, typicality, and adequacy of

 representation. Simply put, there is no legitimate doubt on any of these issues.

         1. Numerosity.


         36.     As the Court knows, over one hundred thousand persons have identified

 themselves through the short form joinder procedure in the Limitation proceeding that

 was about to go to trial. Many more did not exercise this procedure but will happily

 remain within the class and not opt out. In determining numerosity under Rule 23 (a), the

 Court is permitted to rely on its own common sense, particularly when it is apparent that



 12
   That is, the appellate panel must choose between the amount submitted by the claimant or the
 amount advanced by BP Parties and cannot split the difference. This procedure deters strategic
 underbidding by the defendants (as well as exaggeration by claimants).

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 the class is very large. See William B. Rubenstein, Alba Conte, and Herbert B. Newberg,

 1 Newberg on Class Actions, §3.3 (4th ed. 2010).


        2. Commonality.


        37.     Under Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541 (2011), the

 commonality requirement focuses on questions that have common answers that will drive

 the resolution of the litigation. Today, commonality requires considerably more than

 simply the presentation of one or more questions that are common to the class or even a

 showing that the common issues will “affect a significant number of the putative class

 members.” See M.D. v. Perry, 675 F.3d 832, 839-840 (5th Cir. 2012) (“Stukenberg”).

 Rather, it requires that the resolution of the common questions must be “central to the

 validity of each one of the claims in one stroke.” See Wal-Mart Stores, Inc. v. Dukes,

 supra, at 2551; M.D. v. Perry, supra, at 840. Here, the questions that are central to all

 class members’ claims include both factual and legal issues. Representative factual

 issues relating to BP’s alleged negligence would include: (1) BP’s decision to use a long

 string design, rather than a liner tieback; (2) whether BP properly converted the float

 collar; (3) whether BP should have used more centralizers; (4) whether BP should have

 run a full “bottoms-up” circulation; (5) whether BP should have run a cement bond log;

 (6) whether BP should have developed the casing hanger lockdown sleeve before

 displacement; (7) whether BP used “unusual” spacer during displacement; (8) whether

 BP negligently misinterpreted the failed negative pressure tests; and (9) the propriety and

 soundness of BP’s decisions along with the Unified Command concerning use of

 dispersants, boom, and other containment options to intersect oil. In common, these

 issues all involve the defendants’ conduct. Representative legal issues (some of which

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 have been passed on by this Court) would include: (1) what is the scope of the BP

 Parties’ liability as “responsible parties” under OPA; (2) preemption issues under

 OCSLA, the Clean Water Act and federal maritime law; (3) the proper construction of

 OPA’s economic loss provision; (4) the standard of causation under OPA; (5) the

 availability of punitive damages under federal maritime law; and (6) the applicability of

 the divisibility doctrine to OPA. Because resolving these issues would resolve central

 questions of liability in each of the class members’ cases, commonality is satisfied. See

 Forbush v. J.C. Penney Co., 994 F.2d 1101, 1106 (5th Cir. 1993); In re Dell Inc. Sec.

 Litig., 2010 U.S. Dist. LEXIS 58281 (W.D. Tex. June 11, 2010), Fed. Sec. L. Rep.

 (CCH), P 95, 771. This case is entirely unlike M.D. v. Perry (“Stukenberg”), supra, in

 which the asserted common issues involved deficiencies in the state’s treatment of certain

 children. Even if these deficiencies were proven, resolution of these issues would not

 necessarily resolve the claims of the plaintiffs. In contrast, in this case, establishing the

 liability of the BP Parties on the theories advanced does significantly advance each

 individual case.

        38.     Finally, commonality is most easily satisfied “by the defendant’s conduct

 as to all class members.” See Sullivan v. DB Invs., Inc., 667 F.3d 273, 297 (3d Cir.

 2011). Here the BP Parties are alleged to have acted in common towards all class

 members by their conduct in causing the Deepwater Horizon oil spill and in their

 response to it. As in Dell, the “class members’ claims all arise out of the same set of

 operative facts and are based on common legal theories.” 2010 U.S. Dist. LEXIS 58281,

 at *12. Finding commonality in this case is straightforward, because the common

 questions are central, not peripheral.



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 3. Typicality.

        39.       The Fifth Circuit has recognized that: “the test for typicality is not

 demanding.” Mullen v. Treasure Chest Casino L.L.C., 186 F.3d 620, 625 (5th Cir. 1999).

 The test for typicality “focuses on the similarity between the named plaintiff’s legal and

 remedial theories and the theories of those whom they purport to represent.” Id. Here,

 the class members are asserting claims based on OPA and general maritime law, which

 arise out of the same event and the same conduct of the BP Parties before and after that

 common oil spill. There is thus an identity between the legal theories of the class

 representative and the class.

        40.       Equally important, typicality is not defeated by the class members

 suffering varying harms or varying degrees of injury. Differences in damages “will not

 affect their legal or remedial theories, and thus does not defeat typicality.” Mullen, supra,

 at 625. As the Fifth Circuit has summarized:

                  “If the claims arise from a similar course of conduct and
                  share the same legal theory, factual differences will not
                  defeat typicality.”
 James v. City of Dallas, 254 F.3d 551, 571 (5th Cir. 2001). Here, it is self-evident that the

 claims of class members all relate to the same event and the same course of conduct.


        4. Adequacy of Representation.


        41.       The Supreme Court has observed that the adequacy requirement “tends to

 merge” with the commonality and typicality requirements, which collectively “serve as

 guideposts for determining whether” a class action is “economical and whether the

 named plaintiff’s claim and the class claims are so interrelated that the interests of the

 class members will be fairly and adequately protected in their absence.” Amchem, 521

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 U.S. at 626n.20. Here, there are 15 class representatives, coming from a variety of

 occupations and social and economic statuses. All are united by the fact that their

 injuries emanate directly from a common occurrence.

         42.     The adequacy of representation requirement usually poses a significant

 barrier to certification when there are intra-class conflicts. But as already noted, both

 because the liability of the BP Parties is basically uncapped and because the Seafood

 Compensation Program is supervised by a court-appointed master, conflicts of interest

 simply do not arise in this case. Moreover, even in cases where there are potential

 conflicts (unlike this case), the Fifth Circuit has still held that “so long as all class

 members are united in asserting a common right, such as achieving the maximum

 possible recovery for the class, the class interests are not antagonistic for representation

 purposes.” In re Corrugated Container Antitrust Litig., 643 F.2d 195, 208 (5th Cir. 1981).

         43.     In this case, the class was represented by a large and sophisticated

 Plaintiff’s Steering Committee (“P.S.C.”), which included attorneys representing class

 members having suffered losses falling into each of the different categories of loss

 recognized in the definition of this class. In effect, class members with diverse injuries

 were represented by a joint Plaintiffs’ Steering Committee, which established the overall

 framework for compensation of each type of injury.

         44.     Finally, the P.S.C. negotiated each claims process separately with the BP

 Parties under the supervision of Magistrate Judge Shushan. This independent, claim

 type-by-claim type negotiating process greatly reduced the possibility of tradeoffs under

 which the interests of one category of worker or property owner were sacrificed or

 subordinated to the interests of others. Nor would the P.S.C. benefit from any such



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 subordination, as it would not translate into a lower recovery for defendants to pay or a

 higher fee award for the P.S.C. The usual incentives for collusion are simply not present

 in this case.

         45.     Even in far more difficult cases, the Fifth Circuit has still approved

 “irregular settlement negotiations” if the evidence shows that the advocacy was zealous

 and the settlement fair. See In re Corrugated Container Antitrust Litig., 643 F.2d 195,

 208 (5th Cir. 1981). (approving settlement agreement where interests of two subclasses

 diverged but they shared a common interest in achieving the largest possible

 compensation and did achieve that interest). It is highly relevant here that, in Corrugated

 Container, the Fifth Circuit found that “logic dictates that one set of negotiators, with

 authority to release defendants from all claims, would be in a better bargaining position

 than negotiators with authority to compromise only part of the action.” Id. The Fifth

 Circuit’s point is that subclasses can weaken plaintiffs’ negotiating stance because no

 single subclass can confer the needed general release on the defendants. Here, the use of

 a large, but unified, P.S.C. negotiating team not only improved plaintiffs’ bargaining

 power, but also gave all the participants greater transparency as to how the negotiations

 were being conducted. As the Fifth Circuit stated in Corrugated Container, there is no

 reason to believe that separate negotiations on behalf of each of the subclasses would

 have produced a superior outcome — and considerable reason exists to believe to the

 contrary. Moreover, as noted earlier, a distinctive fact about this case is that most class

 members fell into multiple subcategories (e.g., they can belong to two or three different

 subcategories, suffering damage in each). As a result, use of subclasses would achieve




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 little of value, but would slow and confuse the negotiations, which were more efficiently

 conducted with the full P.S.C., rather than with individual subclasses.


        B. Rule 23(b)(3) is Satisfied on the Facts of This Case Because The Common

 Issues Clearly Predominate.


        46.     Rule 23(b)(3), of course, requires that the “questions of law or fact

 common to class members predominate over any questions affecting only individual

 members.” This is often the principal roadblock to the certification of tort-based class

 actions. But, as earlier noted, this case is markedly different.

        47.     First, this is a single event, single location mass disaster which began at an

 easily defined point: the Macondo well blowout. Unlike those more problematic cases

 that involve extended exposure to a potentially dangerous product or emission, this case

 pivots on an actual physical invasion of the properties of many class members. This

 starting point was equally and highly visible to all. Unlike most exposure cases (such as

 tobacco or asbestos), there was not simply a statistical possibility of future injury, but an

 immediate trespass.

        48.     Second, the conduct of the BP Parties was common to all class members.

 This is critical, because as virtually all have agreed:


                “When common questions represent a significant aspect of the case and
                they can be resolved for all members of a class in a single adjudication,
                there is a clear justification for handling the dispute on a representative
                rather than on an individual basis.”
 See 7A Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure §1778

 (3rd ed. 2012). Along with other Circuits, the Fifth Circuit has agreed. See also Jenkins

 v. Raymark Indus., 782 F.2d 468, 472 (5th Cir. 1986); see also Sullivan v. DB


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 Investments, Inc., 667 F.3d 273, 335 (3d Cir. 2011) (concurring opinion by Scirica, J.)

 (noting that the “focus in the settlement context should be on the conduct (or misconduct)

 of the defendant and the injury suffered as a consequence”).


           49.     Third, in the Fifth Circuit, the balance between common and individual

 issues is not computed mechanically by simply counting each issue. Rather, the focus is

 on the efficiencies of class treatment. See Jenkins v. Raymark Industries, 782 F.2d 468,

 472 (5th Cir. 1986). Thus, a “class issue predominates if it constitutes a significant part of

 the individual cases.” See Watson v. Shell Oil Co., 979 F.2d 1014, 1022-23 (5th Cir.

 1992), on reh’g, 53 F.3d. 663 (5th Cir. 1994). Ultimately, this is a matter of weighing,

 not counting, issues. See Mullen v. Treasure Chest Casino L.L.C., 186 F.3d 620, 626

 (5th Cir. 1999).

           50.     Fourth, key legal issues are common to the cases of virtually all class

 members, because this is a case that relies on the closely interconnected body of law that

 OPA and general maritime law together establish. OPA necessarily places two legal

 issues at center stage in this case: (1) Scope of Liability: What is the scope of the BP

 Parties’ liability arising from their status as “responsible parties” under Section 1002(a)

 of OPA?;13 and (2) Degree of Fault: Did the BP Parties engage in gross negligence or

 willful misconduct? If cases were litigated on an individual basis, these issues would

 have to be faced repeatedly, and thus efficiency considerations dictate the use of a class

 action in order to avoid repetitive litigation of these issues.

           51.     Finally, the fact that the parties have achieved a settlement also deserves

 significant weight, particularly to the extent that it underscores and demonstrates the


 13
      See 33 U.S.C. § 2702(a).

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 cohesiveness of the class. This is the essential holding in Sullivan v. DB Investments,

 Inc., 667 F.3d 273, 297 (3d Cir. 2011), which is an important recent appellate decision on

 settlement class actions. Where there is core nucleus of common facts (as there is in this

 single event, single location disaster that affects a geographically closely knit class), the

 cohesion of class members is more evident. That a large class (totaling probably several

 hundred thousand members) was able to achieve a complicated settlement without its also

 sizable Plaintiffs’ Steering Committee fracturing (and some original members dissenting)

 also demonstrates cohesion. Ultimately, under Amchem Products, the bottom line issue

 is whether the class is “sufficiently cohesive to warrant adjudication by representation.”

 Amchem, 521 U.S. at 623. Here, the unity of the class clearly justifies the vicarious

 representation of the class by its class representatives and counsel.

        52.     In contrast to the foregoing clearly common issues, there is only one

 individual issue that may need to be balanced against these common issues. This is the

 issue of causation. Potentially, the losses suffered by individual class members could

 involve individual issues relating to causation. Still, it would be a superficial analysis

 that failed to recognize that causation tends to involve more common issues when the

 class members are similarly situated. In general, the Third Circuit has held in a related

 context that “‘at the class certification stage, the Court need not concern itself with

 whether Plaintiffs can prove their allegations’ so long as they ‘make a threshold showing

 that the elements of impact will predominantly involve generalized issues of proof, rather

 than questions which are particular to each member of the plaintiff class.’” Sullivan v.

 DB Invs. Inc., 667 F.3d 273, 291-292 (3d Cir. 2011) (citing In re Linerboard Antitrust

 Litig., 305 F.3d 145, 152 (3d Cir. 2002). Such generalized proof is equally possible and



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 appropriate here. For example, OPA imposes liability on the part of a responsible party

 to a person who uses natural resources for subsistence for “damages for loss of

 subsistence use of natural resources . . . which have been injured, destroyed or lost.”14

 Similarly, “any claimant” may recover for “damages equal to the loss of profits or

 impairment of earning capacity due to the injury, destruction, or loss of . . . natural

 resources.”15

           53.     On the facts of this case, such issues are susceptible to common proof.

 For example, if the population of “finfish,” oysters, shrimp, and crabs were reduced by

 the Deepwater Horizon Incident, both commercial fisherman and those who depend on

 such “natural resources” for “subsistence” have claims for damages under OPA. But the

 extent of any damage to natural resources — such as the reduction in the populations of

 “finfish,” lobsters, crabs and shrimp — would invite common proof, including through

 scientific evidence.

           54.     More specifically, Section 2702(b)(2)(E) of OPA requires a claimant

 under OPA who wishes to recover lost profits or damages for the impairment of earnings

 capacity to show that the claimant’s loss was “due to the injury, destruction, or loss of

 real property, personal property, or natural resources.” As commentators have noted, this

 language does seem to contemplate showing a causal connection of some sort. But that

 showing can often be made through common evidence. For example, if a series of hotels

 and motels abutting oil-fouled beaches laid off employees directly as a result of reduced

 travel by tourists to their hotels, the reasons that these employees were laid off can be

 shown through common evidence (for example, the testimony by hotel managers about

 14
      See 33 U.S.C. § 2702(b)(2)(C).
 15
      See 33 U.S.C. § 2702(b)(2)(E).

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 the reasons for their layoffs). This is a common issue because it involves many class

 members, and the chain of causation is short.

        55.     The problem of showing causation pursuant to Section 2702(b)(2)(E)’s

 “due to” requirement is also greatly simplified in this case by the circumscribed

 definition of the class. Conceivably, a chain of economic falling dominoes can be

 imagined under which the closing of a hotel on the Gulf Coast in Alabama might cause

 suppliers in New York or headquarters employees in Chicago in the same hotel chain also

 to be laid off. But those remote claimants in New York or Chicago are simply not within

 the class definition, which requires that the class member reside, work (or have been

 offered work), or own or lease property, in the “Gulf Coast Areas.” By thus refining the

 class definition, the complexity of showing causation is greatly reduced. Economic

 surveys and related statistical evidence can all help to demonstrate the common impact of

 the Deepwater Horizon incident within this narrower geographic range.

        56.     Even with respect to issues of causation, the degree of similarity within

 each type of claimants (e.g., fishermen, tourist industry entities and workers, property

 owners in highly contiguous areas) makes causation much more subject to common proof

 than in cases involving the nationwide exposure of much larger classes to toxic

 substances or cases involving more dispersed and delayed injuries. In many tort cases,

 there are issues about the contributory negligence or comparative fault on the part of the

 plaintiffs, but those issues do not arise here. Put simply, the existence of a common

 nucleus of core factual and legal issues in this case implies that class treatment is efficient

 and that individual litigation would be unduly repetitive and burdensome.




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           C. Rule 23(b)(3)’s Superiority Standard is Also Satisfied Because A Class Action

 Is the Vastly Superior Method by Which to Adjudicate the Losses Experienced by the

 Class Members and Will Yield Benefits That Could Not Have Been Obtained in

 Individual Litigation.

           57.    Several independent reasons make class treatment “superior” for purposes

 of Rule 23(b)(3). First, class treatment is highly efficient, as otherwise the federal and

 state courts would be inundated with a continuing flow of Deepwater Horizon individual

 cases, extending well into the future, all of which cases would need to relitigate repetitive

 issues.

           58.    Second, the Settlement Agreement replaces the GCCF with the Deepwater

 Horizon Court Supervised Settlement Program, which, among other things, will employ

 more objective and transparent criteria.

           59.    Third, the Settlement Agreement has unique provisions that could only be

 obtained in a comprehensive class settlement: Three stand out: (1) Class Members will

 receive Risk Transfer Premium (“RTP”) payments that will liquidate potential claims for

 pre-judgment interest, the risk of oil returning, consequential damages, emotional

 distress, possible future damages, claims for punitive damages, and other factors; (2)

 Section 2 of the Agreement assigns the BP Parties’ spill-related claims against

 Transocean and Halliburton to the class, which assignment includes the BP Parties’

 claims to punitive damages and reimbursement of clean-up costs;16 and (3) All payments


 16
   The BP Parties estimated their total expenditures over the last two years to compensate
 governmental entities, individuals and businesses and “to engage in response and cleanup in the
 Gulf Coast” at “over $22 billion.” At the preliminary hearing on certification, the BP Parties
 advised this Court that “most of that has been assigned” to the class pursuant to this provision.
 See “Transcript of Hearing on The Motions for Conditional Certification of Rule 23(B)(3) Class

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 determined by the Claims Administrator can be received on an accelerated basis, even

 before final resolution of any appeals of the Court’s approval of the settlement’s fairness.

         60.     Fourth, BP has also agreed to finance a $57 million fund to promote the

 Gulf Coast. This “Gulf Coast Promotional Fund” seeks to encourage tourism and to

 rebuild the Gulf Coast’s seafood industry and will benefit both class members and non-

 members alike. It is inconceivable that such a fund could have been obtained through

 individual litigation.

         61.     These differences again underscore that this settlement reflects a broad

 and aspirational program of compensation and rehabilitation by which the BP Parties are

 seeking to revitalize the Gulf Coast area damaged by the Deepwater Horizon disaster.

                                      IV. CONCLUSION

         62.     Several points, made earlier, merit a final underscoring:

         A. This case is sui generis and will seldom, if ever, reoccur in the federal courts.

 It is less about establishing liability than restructuring a claims resolution process. The

 path to settlement began with the creation by the BP Parties of the Trust and GCCF well

 before the commencement of the earliest settlement discussions. Counsel for both sides

 have worked for over a year to restructure that earlier claim resolution process into an

 improved one that is both more transparent and less discretionary. The broader goal is

 not simply the compensation of plaintiffs, but the economic and social rehabilitation of

 the Gulf Coast areas affected by the Deepwater Horizon disaster.




 for Settlement Purposes Heard Before The Honorable Carl J. Barbier United States District
 Judge,” April 25, 2012 at p. 82.

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         B. Both for this reason and because the settlement is uncapped, this case will not

 establish any precedent making mass tort class actions easier to bring and resolve. In all

 candor, uncapped settlements are less common than unicorns.

         C. The class definition in this case is extremely cautious and does not push the

 envelope in terms of what might be litigated in the form of a class action. As a result,

 many potential litigants with more remote claims are not within the class, will not be

 covered by the release given on behalf of the class members, and can still sue the BP

 Parties in other litigation.

         D. The Fifth Circuit has long recognized that the “existence of a negative value

 suit” supplies “[t]he most compelling rationale for finding superiority in a class action.”

 See Castano v. Am. Tobacco Co., 84 F.3d 734, 748 (5th Cir. 1996). In other more recent

 decisions, it has endeavored to protect such claims. See In re Monumental Life Ins. Co.,

 Inc., 365 F.3d 408, 411-12 (5th Cir. 2004). This class action clearly contains a

 disproportionate number of negative value claim holders, and it is also possible that some

 of the most valuable legal claims may well be asserted outside this settlement framework

 by class members who opt out. But, that is exactly the outcome that this Circuit has

 approved in its prior opinions, and thus it should be no barrier to class certification that

 some claimants may prefer to sue individually.

         E. The benefits that class members will receive are remarkably well defined and

 leave little discretion or allocation authority to others. The frameworks are clear and

 objective, as is the documentation that needs to be submitted. Procedural rights,

 including the right to appeal, are clearly specified and much more protective than those

 specified in typical plans of allocation.



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         F. Under the Settlement Agreement, the class members receive much more than

 simply compensation for their losses, but will also gain an assignment of substantially all

 of the BP Parties’ rights against Transocean and Halliburton (including any right to

 punitive damages) and the indirect benefits of the $57 million Gulf Coast Promotional

 Fund.

         G. These additional benefits, coupled with the BP Parties’ early acceptance of

 responsibility and waiver of the statutory ceiling on liability under OPA, underscore that

 this is not ordinary litigation, but rather a negotiated resolution of a broad program of

 social remediation and rehabilitation. Given this purpose and the reduced risk of

 collusion in an uncapped settlement, courts can have greater confidence in the adequacy

 of the representation and the zealous protection of the class’s interests.

         H. Under any reasonable reading of Rule 23, the critical predominance test under

 Rule 23(b)(3) tips sharply in the favor of a finding that the common issues do

 predominate over the individual issues. Because the defendants’ conduct injured the

 class members through a common course of conduct in a single-event, single-location

 mass disaster and because common legal standards apply (OPA and general maritime

 law), these common issues easily outweigh the individual issues.

         I. Because a class action is the vastly superior method by which to resolve the

 impact of this mass disaster on the Gulf Coast Region, it would be a social tragedy if

 class certification were denied.




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                                         EXHIBIT A



              BACKGROUND, EXPERIENCE AND QUALIFICATIONS

        1.      I am the Adolf A. Berle Professor of Law at Columbia University Law

 School, where I have taught since 1980, and am a member of the Bars of the State of

 New York and the District of Columbia (and am admitted to various federal courts). I am

 also a Fellow of the American Academy of Arts and Sciences, a Life Fellow of the

 American Bar Foundation, and a Life Member of, and former Reporter for, the American

 Law Institute. I have also been a Visiting Professor of Law at Harvard Law School,

 Stanford Law School, the University of Virginia Law School, and the University of

 Michigan Law School. I began my academic career teaching at Georgetown University

 Law School from 1976 to 1980. Prior to that, I practiced law with the firm of Cravath,

 Swaine & Moore in New York City from 1970 to 1976. I am a 1969 graduate of Yale

 Law School.

        2.      As a law professor, one of my principal academic interests has been class

 action litigation (with a special focus on the organization and management of the large

 class action). My law review articles on class actions have been cited on several

 occasions by the U.S. Supreme Court, including in Amchem Products, Inc. v. Windsor,

 521 U.S. 591, 621 (1997), and Ortiz v. Fibreboard Corp., 527 U.S. 815, 850n.28.

        3.      I have on a number of occasions testified before Congressional

 committees with regard to class actions, have appeared as a witness before the Advisory

 Committee on the Civil Rules of the United States Judicial Conference, and regularly

 appear as a panelist at symposia and institutes on the topic of class actions. For the past

 sixteen years, I have been the opening lecturer at the annual ABA National Institute on
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 Class Actions, and my annual survey of class action developments for this Institute is

 regularly published by the Bureau of National Affairs (“BNA”). During 1995, I served as

 an adviser to the White House’s Office of General Counsel with regard to the Private

 Securities Litigation Reform Act of 1995 (the “PSLRA”), which chiefly seeks to regulate

 securities class actions. More recently, I advised the staff of the Senate Banking

 Committee with respect to the drafting of both the Sarbanes-Oxley Act in 2002 and the

 Dodd-Frank Act in 2010.

        4.      In addition, I have authored the following articles on class actions (which I

 cite in part to indicate that I am not contradicting prior positions or inventing a novel

 argument that I would not endorse apart from the facts of this case): John C. Coffee Jr.,

 Litigation Governance: Taking Accountability Seriously, 110 Colum. L. Rev. 288

 (2010); John C. Coffee Jr., Reforming the Securities Class Action: An Essay on

 Deterrence and Its Implementation, 106 Colum. L. Rev. 1534 (2006); John C. Coffee Jr.,

 Rescuing the Private Attorney General: Why the Model of the Lawyer as Bounty Hunter

 Is Not Working, 42 Md. L. Rev. 215 (1983); John C. Coffee Jr., The Unfaithful

 Champion: The Plaintiff as Monitor in Shareholder Litigation, 48 Law & Contemp.

 Probs. 5 (Summer 1985); John C. Coffee Jr., Understanding the Plaintiff’s Attorney: The

 Implications of Economic Theory for Private Enforcement of Law Through Class and

 Derivative Actions, 86 Colum. L. Rev. 669 (1986); John C. Coffee Jr., The Regulation of

 Entrepreneurial Litigation: Balancing Fairness and Efficiency in the Large Class Action,

 54 U. Chi. L. Rev. 877 (1987); John C. Coffee Jr., and Donald E. Schwartz, The Survival

 of the Derivative Suit: An Evaluation and a Proposed Legislative Reform, 81 Colum. L.

 Rev. 261 (1981); John C. Coffee Jr., Rethinking the Class Action: A Policy Primer on



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 Reform, 62 Ind. L. Rev. 625 (1987); John C. Coffee Jr., Class Wars: The Dilemma of the

 Mass Tort Class Action, 95 Colum. L. Rev. 1343 (1995); John C. Coffee Jr., The Future

 of the Private Securities Litigation Reform Act: or Why the Fat Lady Has Not Yet Sung,

 51 Bus. Law. 975 (1996); John C. Coffee Jr., Class Action Accountability: Reconciling

 Exit, Voice, and Loyalty in Representative Litigation, 100 Colum. L. Rev. 370 (2000).

        5.      My work in the area of class actions and representative litigation also

 includes service (for over a dozen years) as a Reporter for the American Law Institute in

 connection with its effort to codify the common law rules of corporate law and fiduciary

 duties in a Restatement-like volume. See A.L.I., PRINCIPLES OF CORPORATE

 GOVERNANCE: Analysis and Recommendations (1992). I served as the Reporter for

 Litigation Remedies.

        6.      I have also served as an expert witness in a number of the largest class

 actions, including a number in the Fifth Circuit. These include Amchem Prods., Inc. v.

 Windsor, 521 U.S. 591 (1997); In re Enron Corp. Securities, Derivative & “ERISA”

 Litig., 586 F. Supp. 2d 732 (S.D. Tex. 2008); In re Visa Check/MasterMoney Antitrust

 Litig., 297 F. Supp. 2d 503 (E.D.N.Y. 2003); In re AOL Time Warner Inc. Sec. &

 “ERISA” Litig., No. 02 Civ. 5575, 2006 U.S. Dist. LEXIS 78101 (S.D.N.Y. Sept. 28,

 2006); In re Royal Ahold Sec. & “ERISA” Litig., 461 F. Supp. 2d 383 (D. Md. 2006); In

 re NASDAQ Market-Makers Antitrust Litigation, 187 F.R.D. 465 (S.D.N.Y. 1998); In re

 Sumitomo Copper Litig., 74 F.Supp. 2d 393 (S.D.N.Y. 1999); In re Cendant Corp. Sec.

 Litig., 182 F.R.D. 144 (D.N.J. 1998); In re Cendant Corp. Sec. Litig., 109 F. Supp. 2d

 235 (D.N.J. 2000), aff’d 264 F.3d 201 (3d Cir. 2001); In re Lucent Tech. Inc. Sec. Litig.,

 327 F. Supp. 2d 426 (D.N.J. 2004); In re Waste Management, Inc. Sec. Litig., No.



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 97C7709 (N.D. Ill. 1999); In re Lease Oil Antitrust Litig. (No. II), 186 F.R.D. 403 (S.D.

 Tex. 1999); Shaw v. Toshiba America Info. Sys., 91 F. Supp. 2d 942 (E.D. Tex. 2000);

 and In re Diet Drugs Products Liability Litigation, MDL Docket No. 1203 (E.D. Pa.

 2000).




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